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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    No. CR S-03-0401 WBS KJM P

12           vs.

13   LEE ROY TREVINO,

14                  Movant.                        ORDER

15                                          /

16                  Movant has requested the appointment of counsel. There currently exists no

17   absolute right to appointment of counsel in § 2255 proceedings. See, e.g., Irwin v. United States,

18   414 F.2d 606 (9th Cir. 1969). However, 18 U.S.C. § 3006A authorizes the appointment of

19   counsel at any stage of the case “if the interests of justice so require.” See Rule 8(c), Rules

20   Governing Section 2255 Proceedings. In the present case, the court does not find that the

21   interests of justice would be served by the appointment of counsel at this time.

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 1                  Accordingly, IT IS HEREBY ORDERED that movant’s request for appointment

 2   of counsel (docket no. 93) is denied without prejudice to a renewal of the request at a later stage

 3   of the proceedings.

 4   DATED: April 4, 2008.

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